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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SAM RAINSY,                                        Case No. 18-mc-80024-SK
                                   8                   Plaintiff,
                                                                                           ORDER SETTING BRIEFING
                                   9            v.                                         SCHEDULE
                                  10    FACEBOOK, INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff Sam Rainsy submits an ex parte application for an order for discovery pursuant to

                                  14   28 U.S.C. § 1782 for use in foreign proceedings. The Court requires Plaintiff to serve the moving

                                  15   papers and this order on Defendant and any interested parties by February 21, 2018. Any party

                                  16   wishing to oppose the application must do so by March 1, 2018. Plaintiff may file a reply no later

                                  17   than March 7, 2018. In their papers, the Court asks the parties to specifically address the

                                  18   requirements regarding notice to parties in the underlying action in Cambodia under the Federal

                                  19   Rules of Civil Procedure.

                                  20          IT IS SO ORDERED.

                                  21   Dated: February 15, 2018

                                  22                                                   ______________________________________
                                                                                       SALLIE KIM
                                  23                                                   United States Magistrate Judge

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